             Case 1:17-cv-02069-TSC Document 63 Filed 02/14/18 Page 1 of 1


                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                              )
 JOHN DOE,                                    )
                                              )
                 Petitioner,                  ) Civil Action No. 1:17-cv-2069 (TSC)
                                              )
        v.                                    )
                                              )
 GEN. JAMES N. MATTIS,                        )
  in his official capacity as SECRETARY       )
  OF DEFENSE,                                 )
                                              )
                 Respondent.                  )


                                             ORDER

       Upon consideration of Respondent’s Consent Motion to Amend Briefing Schedule (ECF No.

58), and for good cause shown, Respondent’s motion is hereby GRANTED. Accordingly, it is

ORDERED that the briefing schedule entered by the Court’s Order of January 29, 2018, with

respect to Petitioner’s Motion to Unseal, is hereby amended as follows:

   1. Respondent shall file a memorandum in opposition to Petitioner’s Motion to Unseal (ECF

       No. 48) by March 5, 2018.

   2. Petitioner shall file a reply in support of Petitioner’s Motion to Unseal by March 19, 2018.


Date: February 14, 2018

                                            Tanya S. Chutkan
                                            TANYA S. CHUTKAN
                                            United States District Judge 
